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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


DANIEL O. CONWILL, IV                                                           CIVIL ACTION

VERSUS                                                                                 No. 09-4365

GREENBERG TRAURIG, L.L.P., ET AL.                                                      SECTION I


                                          JUDGMENT

       Considering the record, the Court’s order granting summary judgment in favor of

defendants and dismissing plaintiff’s claims, and the law, for the reasons assigned,

       IT IS ORDERED that plaintiff’s civil RICO claims are DISMISSED WITH

PREJUDICE.

       IT IS FURTHER ORDERED that plaintiff’s state law claims for legal malpractice,

fraud, conspiracy to commit fraud, and breach of contract are DISMISSED WITH

PREJUDICE.

       IT IS FURTHER ORDERED that plaintiff’s remaining state law claims are

DISMISSED WITHOUT PREJUDICE.



       New Orleans, Louisiana, March 21, 2011




                                                          LANCE M. AFRICK
                                                     UNITED STATES DISTRICT JUDGE
